 8:05-cr-00190-JFB-FG3             Doc # 71     Filed: 12/07/05       Page 1 of 2 - Page ID # 179




                               UNITED STATES DISTRICT COURT FOR
                                   THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )
                                 Plaintiff,              )       8:05CR190
                                                         )
                         vs.                             )       FINAL ORDER OF
                                                         )       FORFEITURE
                                                         )
TROY HANSEN,                                             )
                                                         )
                                 Defendant.              )


          NOW ON THIS 7th day of December, 2005, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

          1. On October 13, 2005, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's plea

of guilty to Counts I and V of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $837.00 in United States currency was forfeited to the United

States.

          2. On October 27, November 3 and 10, 2005, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States to dispose of the

property in accordance with the law, and further notifying all third parties of their right to petition

the Court within the stated period of time for a hearing to adjudicate the validity of their alleged legal
 8:05-cr-00190-JFB-FG3          Doc # 71      Filed: 12/07/05      Page 2 of 2 - Page ID # 180




interest(s) in said property. An Affidavit of Publication was filed herein on December 7, 2005

(Filing No. 69).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the subject property, i.e., $837.00 in United States

currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., $837.00 in United States currency, be, and the same hereby is,

forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 7th day of December, 2005.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
